       Case 2:16-cr-00055-DWA Document 63-1 Filed 12/20/18 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                    )
                                                            ) Criminal No. 16-055
                   v.                                       ) Case No. 2:16-cr-00055-DWA
                                                            ) The Honorable Donetta W. Ambrose
SIMON TUSHA                                                 )


                                         ORDER

         AND NOW, to-wit, this _________ day of ________________, 2018, upon

consideration of Defendant Simon Tusha’s Motion To Continue Sentencing, it is hereby

ORDERED, that said Motion is hereby GRANTED, and the Sentence, now scheduled for

January 3, 2019, is hereby continued until _________________, 2019.


         IT IS FURTHER ORDERED that the extension of time caused by this

continuance (from the date of this Order, to the date of the rescheduled Sentence), be

deemed excludable delay under the Speedy Trial Act 18 U.S.C. § 3161 et. seq.

Specifically, the Court finds that the ends of justice served by granting this continuance

outweigh the best interest of the public and the defendant to a speedy trial, 18 U.S.C. §

3161 (h) (7) (A), since, for the reasons stated in Defendant's Motion, the failure to grant

such continuance would deny counsel for the Defendant reasonable time necessary for

effective preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161

(h) (7) (B)(iv).


                                              _______________________
                                              Donetta W. Ambrose
                                              United States District Judge
	  
